









Dismissed and Memorandum Opinion filed May 5, 2005









Dismissed and Memorandum Opinion filed May 5, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00252-CV

____________

&nbsp;

BCS GLOBAL HOLDINGS, LTD., Appellant

&nbsp;

V.

&nbsp;

ST. GEORGE AG SERVICE, INC. and EJ
EQUIPMENT, INC., Appellees

&nbsp;



&nbsp;

On Appeal from the
400th District Court

Fort Bend
County, Texas

Trial Court Cause No. 04-CV-139983

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed February 21,
2005.&nbsp; The notice of appeal was filed on
March 2, 2005.&nbsp; To date, our records show
that appellant has neither established indigence nor paid the $125.00 appellate
filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent); Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals, Misc.
Docket No. 98-9120 (Tex. Jul. 21, 1998) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon Supp.2004-05) (same). 








After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp;
Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c) (allowing involuntary dismissal of case because appellant has failed to comply
with notice from clerk requiring response or other action within specified
time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 5, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

&nbsp;





